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AZARI ALMU'I`AIRI and
AHMAI} A. ALN[UTAIRI
Block 6, Street, House 2
Mishref, I{uwait

Plaintiffs
v.

THE JOHNS HOPK]NS HEALTH
SYSTEM C()RP()RATION

601 North Broadway

Baltimore, MD 21205

SERVE ON: Residcnt Agent
Joanne E. Pollack, Esquire
600 North Wolfe Street
Administration Bldg. 414
Baltimore, MD 21205

and

THE JOHNS HOPK[NS HOSPITAL, INC.,
dfb!a THE JOHNS HOPK]NS HOSPITAL
601 North Broadway

Baltimore, MD 21205

SERVE ON: Resident Agcut
Joanne E. Pollack, Esquirc
600 North Wnlfe Street
Administration Bldg. 414
Baltimol'e, MD 21205

and

TI'IE JOHNS HOPKINS U W l VERSITY
3400 North Charles Strcet
Baltimurc, NID 21213

SERVE ON: Residcnt Agent
Mark Rotenberg
Gencral Counsel
3400 N. Charles St.
Baltirnore, I\C[D 21218

and

 

IN THE
[§:EF 5 |(’F+ E-\_;._§ h
CIRCUIT COURT ' "‘
. 32ij _l" `\’ff_“z»~.,
FOR """'"`-..
BALTIMORE CITY

Case No.: M"C"_,Sr""lT-T ll

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JOHNS HOPKINS BAYV[EW MEDICAL
CENTER, INC., d!bfa JOHNS HOPK[NS
BAYVIEW MEDICAL CENTER

4940 Eastern Avenue *
Baltimore, MD 21224

=i'

SERVE ON: Resident Agent

J canoe E. Pollack, Esquire *
BRB 102
.Iohns ankins Health Systém ` "‘
Corporah'on '
733 North Broadway *
Baltimore, MD 21205
§§
and
_ l k
MAIEIMOUD MALAS, M.I).
Jolms Hopkins Bayview Medical Center _ *
4940 Eastern Avenue
Baltimorc, MD 21224 *
and *
THOMAS REIFSNYDER, M.D. ' *
Jolms Hopkins Bayview Medical Center _
4940 Ea§tern Avenue . *
Baltimorc, MD 21224
*
and

JOHNS HOPKINS C()Ml\'IUNITY

PHYSICIANS, INC., andfor JOHNS "'
HOPKINS COMMUNITY PHYSICIANS
3100 Wyman Park Drive *

Baltimurc, I\’l[) 21211

SERVE ON: Resident Agent

, annne E. Pollack, Esquire *
600 North Wolfe Street -
Administration Bldg. 414 *

Baltimore, MD 21205

l)efendants _

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COMPLAINT

COME NOW Plaintiffs, Azari Ahnutairi and Ahrnad A. Almutairi, by and through their
attorneys, Howard A. Janet, Esqnire, Giles H. Manley, M.D., J.D., Jason B. Penn, Esquire and
Janet, Jenner & Suggs, LLC, and hereby file a Colnplaint against Defendants, The Johns
Hopkins Health System' Corporation, The .Tohns Hopkins Hospital, lnc. dfbr’a The .Tohns Hopkins
Hospital, The Johns Hopl<ins University, .Tohns Hopkins Bayview Mcdical Center,_lnc. dfbf'a
Johns Hopkjns Bayview Medical Center, Mahrnoud Malas, M.D., 'l`hornas Reit`snyder, M.D., and
Johns Hopkins Corrnnunity Physicians, Inc. andfor ]'ohns Hopkins Community Physicians, and
for cause and in support of their claim 1resper;‘,t'.l`ully St'ate as follows:

INTRODUCT[ON

1. On May 3, 2012, Azari Allnutairi (hereinaf‘ter "Mrs. Ahnutairi") Was admitted to
Johns Hopkins Hospital Where she underwent a saphenous vein bypass and tendon release to
increase the function of her right leg. Although. surgery was successful and she was able to walk
shortly thereafter, in the weeks and months that followed, Mrs. Almutairi required numerous
surgical interventions secondary to Defendants failure to protect her vascular supply post
surgically. rI'he negligence on part of Det`endants undermined the success of the procedure? and
caused her to experience, emotional and physical pain and suEering, mental anguish, disability,
distigurement, including surgical amputation of her leg, and economic loss, past, present and
future Her injuries and losses are pennanent.

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2. Venue as to all claims is invoked in Baltimore City pursuant to l\/LD. CODE
ANN., CTS. & JUD. PROC. § 6~201, et seq., inasmuch as (a) all Defendants reside, carry on a

regular business, are employed and!or habitually engage in a vocation in Baltimore City‘, andfor

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(b) the cause of action arose in Baltirnore City, in that the injuries proximately caused by the
alleged negligence of the Defendants occurred at Johns Hoplcins Bayview Medical Center, lnc.
dfb;‘a Johns Hopkins' Bayview Medical Center located in Baltirnore City, Maryland.
Futthennore, all the Defendants, The Johns Hopkins Health Systern Corporation, The Johns
Hopkins Hospital, lnc. dr"bfa The Johns Hopkins Hospital, The lohns l~lopkins University, Johils
Hopkins Bayview Medical Center, lnc. dfb;'a lohns l~lopkins Bayview Medical Center, Mahmoud
Malas, M.D., Thornas Reifsnyder, M.D., and lohns Hopkins Comrnunity Physicians, lnc. and/or
Johns Hopl<ins Community Physicians, carry on a regular business, are employed and/or
habitually engage in a vocation in Baltimore City. Additionally, the cause of action arose in
Ba.ltimore City, in that the irre`ifersible injuries proximately caused by the alleged negligence of
the 'Defendants occurred at lohns I'Ioplcins Bayview Medieal Center, lnc. dfbfa Johns Hopl<ins
Bayyiew Medical Center, located in Baltimore City, Mary]and.

3. Jurisdiction is proper in Baltiinore City Circuit Court in that all conditions
precedent to filing this suit have been net. 'I`his case Was initially filed in the Health Care
Alternative Dispute Resolution_ Offlce of Maryland as Azarr` Almurairi and Ahmad A. Afnmtairf
v. The Jolins Hopkz'ns Heal!h System Corpomr.‘£on, The Johns'Hopk£ns Hospr`!al, Inc.,' d/b/a ll'he
John Hopk£ns Hospital, The Jolms Hoplcr`ns Um`versz`ry, Johns Hopk£ns Bay'.iz'ew Medical Cenfer,
lnc. d/b/a Johns Hopkr'ns Ba.yvr'ew Medical Cem‘er, Mahmead Malas, MD., lhomas Re{ffrnyder,
MD., dual Johns Hopkr`ns Connna.irfly Phy,sicians, lnc., and/or Johns Hopkfns Conmmnify
Phy.s'icians, Case No.: 2015-186, along with an Election to Waive Arbitration, and the Certificate
of Qualitied Expert and Report of Martin Evans, M.D., copies of which are collectively attached

hereto as Exhibit A and the Order of Transfer is attached hereto as Exhibit B.

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4. `Damages are in excess of the required jurisdictional amount under MD. CODE,
Cil`S. & .TUD. PROC. § 3-2A*02.

THE PARTlES

5. At all times relevant, Plaintitt Azari Alniutairi was a resident of the State of
Maryland, residing in Baltirnore County.

6. At all times relevant, Plaintiff Alnnad A. A]mutairi (hereinatter referred to as
"Mr. Almutairi") was a resident of the State of Mary]and, residing .in Baltiniore County.

7. At all times pertinent hcreto, Defendant The Johns Hopkins I~Iealth System
Corporation, a professional services corporation organized under the laws of the State of
Malyland, With its principal place of business in Baltimore City, Maryland, held itself out to the
public as competent to provide inedical, surgical and nursing services, and indeed did provide
such care and services to Mrs. Almutairi, directly and by and through its principals andfor actual
and/or apparent agents, servants andr‘or employees, who at all times acted within the scope of
their authority in providing care to Plaintiffs.

8. At all times pertinent hereto, Defendant Tlie Johns Hopkins Hospital, lnc. dfb!a
The Johns Hoplcins Hospital, -a professional services corporation organized under the laws of the
State of Maryiand, with its principal place of business in Baltimore City, Maryland, held itself
out to the public as competent to provide medical, surgical and nursing services, and indeed did
provide such care and services to l\/lrs. Alrnutairi, directly and by and through its principals,
and/or actual and!or apparent agents, servants auditor employees, who at all times acted within
the scope of their authority in providing care to PlaintiEt`s.

9. At all times pertinent hereto, Defendant The Johns Hopkins University, a

professional services corporation organized under the laws of the State'of Maryland, with its

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principal place of business in Baltimore City, Ma'ryland, held itself out to the public as
competent to provide medical, surgical and nursing services, and indeed did provide such care
and services to l\/lrs. AlmutairiJ directly and by and tln'ough its principals and/or actual and!or
apparent agents, se1vants and/or employees, who at all times acted within the scope of their
authority in providing care to Plaintiffs.

10. At all times pertinent hereto, Defendant Johns Hopkins Bayview Medical Center,
lnc. dfb! a Johns I"Iopkins Bayview Medical Center, a professional services corporation organized
under the laws of the State of Maryland, with its principal place of business in Baltimore City,
Maryland, held itself out to the public as competent to provide medical, surgical and nursing
services, and indeed did provide such care and services to Mrs. Almutairi, directly and by and
through its principals, and!or actual and!or apparent agents, servants andfor employees, who at
all times acted within the scope of their authority in providing care to Plaintiffs.

ll. At all times pertinent hereto, Defendant Johns Hopkins Cornmunity Physicians,
lnc. andjor Johns Hopl<ins Comnnmity Physicians, a professional services corporation organized
under the laws of the State of Maryland, with its principal place of business in Baltirnore City,
Maiyland, held itself out to the public as competent to provide medical, surgical and nursing
services, and indeed did provide such care and services to Mrs. Almutairi, directly and by and
through its principals and!or actual and/or apparent agents, servants andfor employees, who at all
times acted within the scope of their authority in providing care to Plaintiffs.

12. At all times pertinent hereto, Defendant Mahmoud Malas, M.D., (hereinatter, "Dr.
Malas"), was licensed to practice medicine in the state of Maryland, and held himself out to the

public as a competent practitioner of vascular surgery. At all times`relevant in rendering care to

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Mrs. Alrnutairi, Dr. Malas was employed in, and habitually carried on a vocation in Baltimore
City, Maryland.

13. At all times pertinent hereto, Dr. Malas acted individually, and as the actual
auditor apparent agent, servant and!or employee of The Johns Hopkins Health Systern
Corporation, The Johns Hoplo'ns Hospital, lnc. dr'h!a The Johns Hopkins Hospital, Th.e Johns
llopkins University, Johns Hopl<ins Bayview Medical Center, lnc. dib/a Johns Hopkins Bayview
Medical Center and Johns Hopkins Comrnunity Physicians, lnc. andfor Johns Hopl<ins
Comrnunity P_hysicians, and did so within the scope of his employment and authority.

14. At all times pertinent hereto, Det`cndant 'l`homas Reifsnyder, M.D., (hereinafter,
'"Dr. Reifsnyder"), was licensed to practice medicine in the state of Maryland, and held himself
out to the public as a competent practitioner of vascular surgery. At all times relevant in
rendering care to Mrs. Almutairi, Dr. Reifsnyder was employed in, and habitually carried on a
vocation in Baltimore City, Maryland.

15. At all times perthient hereto, Dr. Reifsnyder acted individually, and as the actual
and!or apparent agent, servant andfor employee of The Johns Hoplcins Health Systern
Corporation, 'I`he Johns Hopkins Hospital, lnc. d/br'a 'l`he Johns Hopkins Hospital, The Johns
Hopl<ins University, Johns Hoplrins Bayview Medical Center, lnc. djbr‘a Johns Hopl<ins_ Bayview
Medical Center and Johns Hopkins Community Physicians, Inc. andJ'or Johns Hopkins
Community Physicians, and did so within the scope of his employment and authority.

16. At all times relevant hereto, each of the Defendants, including their principals,
and/or actual andfor apparent agents, servants andfor employees acted as the actual andr' or

apparent agents, servants and!or employees of each other.

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l?'. At all times pertinent hereto, Mrs. Almutairi was a patient of the above
Defendants (!rerer`n.crji‘er referred to collectively us.' The Defendants) for the purpose of receiving
health care and treatment

FACTS COIV[MON TO ALL COUNTS

 

l8. Mrs. Almutairi is a cancer sutvivor. Mrs. Almutairi had a history of spindle cell
carcinoma, a type of connective tissue cancer. During the resection of her tumor, Mrs.
Alrnutairi's popliteal arter in her right leg was injured The popliteal artery and its branches
supply blood to the knee, muscles in the thigh and calf, as well as The structures making up the
ankle and foot. Over time, scarring from this surgery left her with a significant right lmee
contracturc and decreased circulation through the popliteal aitery. She was unable to walk
without significant pain because of her knee contracture.

19. ln 2012, Mrs. Alniutairi came under the care of Defendants Dr. Scott Lifchez,
plastic surgeon, Dr. Mahmoud Malas, vascular surgeon, and Dr. V. Franl<lin Sechriest,
orthopedic surgeon, for treatment of her right leg. It was determined she would need orthopedic
surgery to release scar damage to her knee and ankle, plastic surgery to place graits for wound
coverage and vascular surgery to ensure adequate blood supply. Angiograms determined the
previous popliteal artery reconstruction showed a degree of obstruction within thc artery.
Nonetheless, her vascular supply was intact, allowing blood flow into her leg and foot. The
Defendants knew that protecting her vascular supply would _be very important to ensure that
adequate blood supply was maintained to her lower leg, ankle and foot in order to promote
healthy healing.

20. On May 3, 2012, Mrs. Almutairi was admitted to Johns I~lopkins Bayview

Medical Center where she underwent a surgical procedure to release her contractures to increase

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the functioning of her leg and ankle, Sltin grafts and flaps to protect and cover the surgical sites,
and vascular bypass to ensure adequate blood flow. Specitically Defendants performed a
saphenous vein femoral/poplitealarterial bypass from the mid superficial femoral artery to the
tibioperoneal trunk (this is where the popliteal artery ends just before corning the posterior tibial
and Bbular arteries which supply the lower leg and foot), release of thigh muscle and ankle
tendons, and a local tissue re-arrangernent. There is no indication that Mrs. Alrnutairi's
eoagulation status was monitored during the vascular part of the procedure, therefore it is
unknown as to whether the level was sufficient to prevent all clot formation in the bypass At the
conclusion of the entire procedure, her knee was in a position of full extension. Doppler
ultrasonography examination of her posterior tibial artery at the conclusion of surgery
demonstrated positive blood flow.

21. Following surgery, Mrs. Ahnutairi was transferred to the ICU fur '_'frcquent
neurovascular monitoring" and flap checks on her right lower extremity._ During her initial
recovery, due to the instability of her knee joint, she was kept with strict bed rest and a splint.
Approxirnately ten days postoperatively she was able to stand and walk a few steps.

22. Post operatively, she received a number of medications, including continuation of
her oral contraceptive Yaz. Oral contraceptives are contraindicated before and after vascular
surgery, and in particular, Yaz, as it is known to have a much higher rate of thrombotic
complications

23. Postoperative monitoring of Mrs. Almutairi‘s platelet counts was conducted
Beginning on May 10, 20-] 2, and lasting through May 16th, Mrs. Alrnutairi‘s platelet count was
consistently elevated, frequently to dangerously high levels thereby increasing the risk of arterial

thrombosis " ' __

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24, On May 15, at 1239, a physical therapist observed that Mrs. Alrnutairi's protective
splints and foot plate were again not placed correctly, and that her foot was cold and putple. She
notified the nurse who immediately paged Defendants from vascular surgeryl Approximately` 2
hours later, a Resident physician documented a positive Doppier signal in the posterior tibial
artery, however there is no indication that he discussed this further With an attending };»hysicianrl
Unfortunately this test gives no information as to whether or not the flow is compromised, only
that some is present Ncgligently, no further testing such as an ankle braehial index (ABI), la test
that definitively identities if a, and what degree of, vascular compromise is present, was ordercd.

25. Somctirne later that evening, on May 15, 2012, Doppler examination of her
posterior tibial artery did not detect a signal, a clear sign the bypass vessel was compromised
Therefore, she was placed on systemic heparin therapy, reportedly resulting in improvement in
_ the signal, however giving no information about the degree of compromise More likely than not
had an ABllbeen performed it would have shown a degree of obstruction requiring consideration
of prompt surgical interventionl l

26. ' On May 16, 2012, at 0457, Mrs. Alrnutairi's platelet count was extremely elevated
at 45l. Also, at 0515, the Resident physician documented no Doppler in the distal posterior
tibial artery, and at 0654 the plastic surgery rounding physician documented the foot was cooler
than before.

2'?`. On May 16, 2012, approximately 3-lf2 hours later, at 0843 she underwent an
angle gram which showed thrombosis of the recent bypass graft and acute occlusion of the native
distal posterior tibial artery. She was diagnosed with a thrombosed arterial graft (no blood flow

to the leg distal to the site of thrombosis).

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28. On May 16, 2012, at 1405 (5 hours and 22 minutes after the angiogram revealing
thrombosis and over 24 hours since her foot was described as cold) she underwent corrective
Surgery to address her tlu'ombosed artery. There is no indication that Mrs. Almutairi's
co agulation status was monitored during this procedure as well.

29. A thrombosed arterial graft is a surgical emergency The standard of care for
institutions and physicians presented with this emergency requires that re-operation within two
hours is available and carried out. Excessive delay increases the risk lof damage to the
microcirculation, tissue becoming necrotic, leading to gangrene and limb amputation. Further
testing such as an ABI should have been ordered `on May 15. Ultirnately, it took more than 5
hours from a diagnosis of total occlusion of her graft until Mrs. Ahmltairi was returned to the
operating room (O.R.) for surgery This delay significantly decreased her microeirculation such
that, should another occlusion occur, any significant delay in re~operation would prove fatal to
the ability of her foot and leg to recover.

30. At the end of surgery, when Hcparin was reversed, another clot formed As a
consequence of that she was re-heparinized in the O.R. and then transferred to the surgical
intensive care unit ("SICU") for two days for neurovascular monitoringl Postoperatively she was
Continued on Aspirin ("ASA"] and IV Heparin therapy for antithrombolitic therapy

31. Mrs. Almutairi's platelet count remained very high. Despite her very high count,
and the fact that she previously thrombosed on ASA (inhibits platelet inaction by blocking the
production of thromboxane), no further anti-platelet medication such as Plavix (inhibits platelet
function by blocking a necessary chemoreceptor on platelet cell mcmbranes) was administered

32. For the next several days, ongoing Doppler studies identified positive signals in

Mrs. Ahnutairi's right lower extremity. An ABI on May 20, 2012 was 0.7, consistent with some

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mild ischemia, however better than her baseline ABI prior to the May 3rd surgery On May 22,
2012, in an effort to prepare her for rehabilitation, against the wishes of Dr. Malas, who was out
of town at the time, the Heparin was converted to I,ovenox (a' long acting low molecular weight
He_parin that takes about four hours to reach maximum efficacy). If Lovenox is given at the
same time Heparin is stoppcd, a patient will be unprotected for a number of hours. In this case
however, it appears the Heparin was stopped in the morning, and the Lovenox was not given
until hours later, leaving Mrs. Almutairi unprotected from a thrombotic event for most of the day
and evening

33. Following the transition from Heparin to Lovenoic, MrS. Almutairi's right foot
developed increasing edema and became mottled and c'ool. As well, she had absent pedal

` Doppler signals. Heparin was re-initiated late that evening

34. On May 23, 2012, she was again diagnosed with a thrombosed gran. This time '
more than six hours passed before she was taken back to the operating room for a revision of the
right superficial femoral artery to posterior tib`ial bypass with a left greater saphenous vein
interposition graft. The negligence and injuries heretofore mentioned combined with the events
from May 22 and the unacceptable delay in reoperation on May 23, more likely than not
damaged the circulation in Mrs. Almutairi's leg and foot to such a degree that functional
recovery was doubtful and that she would need to undergo many more painful procedures
including amputation of her toes, and eventually her leg

35. On June 6, 2012, she was noted to have copious bloody drainage emanating from
her Vacuum As_sisted Closure (VAC) dressing. Yet again, she was taken to the operating room
where arterial bleeding was identified from her prior bypass graft. The graft was infected She

underwent removal of her infected vein graft with revision of thc bypass gratt to the posterior

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tibia'l artery using harvest of the left arm basilica vein. Following this operation she was
maintained on Heparin. Not unexpectedly, she continued to have veiy weak Doppler signals in
her foot and began to demonstrate dry gangrene of her toes.

36. Over the weeks that followed, she underwent multiple procedures in the operating
room which involved irrigation and painful debridement of her lower extremity wounds and
replacement of VAC dressings.

3?. Because of the dry gangrene of her toes, on July 9, 2012 she underwent an
amputation through the meta~tarsal bones.

38. On the evening of luly 21, 2012, she developed an acute, life threatening
hemorrhage from the medial aspect of her right leg wound. She was taken to the operating room.
Once again, the bypass graft had become infected. It was deemed non-salvageable. The bypass
graft was l.igated.

39. During each of the first three surgeries, the arteriography was incomplete 'l`he
removal of cIots was not properly assessed l

40. On August 2, 2012, Mrs. Almutairi was returned to the operating room for a
below the knee amputation Despite the amputation, she would require a number of subsequent
surgeries for various continued complications

41. Months after her admissio'n, on August 16, 20]2, Mrs. Alrnutairi was released by
Defendants to undergo rehabilitationl However, because of Defcndants negligence, her
rehabilitation focused on teaching her to ambulate without her right leg, rather than strengthening
_ the muscles in a functioning one.

42. Had the Defendants adhered to the applicable standards of care, the injuries

described herein suffered by l\/h's. Ahnutairi would have been avoided. T.he negligent care

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rendered by the Dcfendants, individually and by and/through their actualfapparent agents,
servants auditor employees was the direct and proximate cause of the Plaintiffs’ injuries.
COUNT ONE: MEDICAL NEGLIGENCE

43. Plaintiff Mrs. Alrnutairi incorporates by reference the foregoing paragraphs l
through 42 of this Complaint as if fully set forth herein

44. Defendants, The Johns Hopkins Health System Corporaticn,- 'l`he Johns Hopkins
Hospital, lnc. d!bfa The Johns Hopkins Hospital, The Johns Hopkins University, Johns I-Iopkins
Bayview Medical Center, lnc. dib/a Johns Hopkins Bayview Medical Center and Johns Hopkins
Community Physicians, lnc. andf'or Johns Hopk`ins Community Physicians, directly and through
their actual andfor apparent agents, servants and/or employees, including, but not limited to, Drs.
Malas and Reifsnyder, who at all relevant times were acting within the scope of their authority
and/or employment owed Plaintiffs the duty to exercise that degree of care and skill which
reasonably competent health care providers of like kind would have exercised in meeting the
standard of care under the same or similar circumstances.

45. Defendants, Tlre Johns liopkins Health S.ystem Corporation, The Johns Hopkin's
Hospital, lnc. dib/a The Johns Hopkins Hospital, The Johns Hopkins University, Johns Hopkins
Bayview Medical Center, Inc. dfb;'a Johns Hopl<ins Bayview Medical Center and Johns Hopkins
Community Physicians, lnc. auditor Johns Hopkins Community Physicians, directly and through
their actual and!or apparent agents, servants and/or employees, including but not limited to, Drs.
Malas and Reifsnyder, who at all relevant times were acting within the scope of their authority
and!or employment, failed to act as reasonably competent health care providers would have acted
under the same or similar circumstances, breached their duties and violated the applicable

standards of care, and were negligent in the followhig ways, among others:

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a. Failin g to adequately monitor Doppler pulses;
b. Failing to manage intraoperative and postoperative care;
e. Failjng to timely appreciate the significance of, and timely respond to,

signs and symptoms of arterial thrombosis;

d. Failing to adequately splint and care for Mrs. Almutairi's leg post
operatively;

e. Failing to timely start and/or continue Heparin;

f. Failing to timely diagnose and treat arterial thrombosis;

g. Failing to administer appropriate medications in an appropriate time

interval to prevent arterial thrombosis;

h. Failing to stop Mrs. Almutairi's oral contraceptives;

i. Failing to order auditor follow and!or respond to appropriate labs;

j. F ailing to perform adequate testing for detecting arterial clots;

k. F ailing to timely react to known surgical emergencies ;

l. Failing to communicate adequately among Defendants;

m. Failing to monitor coagulation status during vascular surgery;

n. Failing to follow the primary attending's orders; and

0. Other negligent acts or omissions which may become apparent throughout

the course of discoveryl
46. - Furtherrnore, and in addition to the deviations set forth labove, Defendants, The
Johns Hopkins Health System Corporation, The Johns Hopkins Hospital, lnc. dfb)'a The Johns
Hopkins_Hospital, The Johns Hopkins University, Johns H.opkins Bayview Medical Center, Inc.

djbr'a Johns Hopkins Bayview Medical Center and Johns Hopkins Community Physicians, lnc.

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andfor Johns Hoplcins Colmnunity Physicians, directly and through their actual andfor apparent

agents, servants andfor empioyees, departed from the standard of care for reasonably competent

health care providers, failed to act as reasonably competent health care practitioners would have

acted under the same or similar circumstances, breached their duties under the applicable

standards of care and Were negligent in at least the following ways:

£l.

Failing to adequately instruct, lrain, and-for supervise its agents, servants
and employees;

Failing to provide appropriately trained and skilled personnel to care for

- Plaintiff Mrs. Almutairi;

Failing to establish auditor follow and!or enforce appropriate policies,
procedures andr‘or protocols for arterial thromboprophylaxis;

Failing to establish and!or follow and!or enforce appropriate policies,
procedures and practices to properly manage patients such as Mrs.
Almutairi;

Failing to properly credential, supervise andjor provide adequate training
to agents, servants andfor employees, including those who cared for Mrs.
Almutairi;

Failing to have the appropriate staff, personnel and facilities to provide

timely diagnosis and treatment of a surgical emergency

47. Dr. Malas, acting individually, and as an agent servant andfor employee of The

Johns llopkins Health System Corporation, 'I he Johns Hopl<ins Hospital, Inc. dfb:’a The Johns

Hopl<ins Hospital, The Johns Hopkins University, Johns Hopl<jns Bayview Medical Center, lnc.

dfb/'a Johns Hopkins Bayview Medical Center and Johns Hopkins Community Physicians, lnc.

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and!or Johns Hopl<ins Community Physicians who was acting within the course and scope of his

employment, failed to follow the standards of medical practice, exercise reasonable care and skill

and was otherwise negligent and careless in his care and treatment of Azari Almntairi in the

following acts cr ornissions:

El.

b.

Failin g to timely diagnose and treat arterial thrombosis;

Failing to manage intraoperative and postoperative care;

Failing to administer appropriate medications in an appropriate time
interval to prevent arterial thrombosis;

Failing to stop Mrs. Alrnutairi‘s oral contraceptives;

F ailing to order and!or follow and!or respond to appropriate labs;

Failing to perform adequate testing for detecting arterial clots;

- Failing to timely react to known surgical emergencies ;

Failing tc communicate adequately among Defendants;
Failing to monitor coagulation` status during vascular surgery; and
Other negligent acts or omissions which may become apparent throughout

the course of discovery

48. Dr. Reifsnyder, acting individually, and as an agent servant auditor employee of

The Johns liopl<ins Health System Corporation, The Johns Hopkins Hospital) lnc. dfb!a 'l`he

Johns Hopl<.ins Hospital, The Johns llopl<ins University, Johns Hopkins Bayview Medical

Center, lnc. d!br'a Johns Hopkins Bayview Medical Center and Johns Hopkins Cormnunity

Physicians, lnc. and!'or Johns Hopl<ins Community Physicians who was acting within the course

and scope of his cmployment, failed to follow the standards of medical practice, exercise

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reasonable care and skill and was otherwise negligent and careless in his care and treatment of

Azari Almutairi in the following acts or omissions:

 

a. Failing to timely diagnose and treat arterial thrombosis;

b. Failing to manage intraoperative and postoperative care;

c Failing to perform adequate testing for detecting arterial clots;

d. Failing to timely react to a known surgical emergency;

e. Fai]jng to communicate adequately among Defendants;

f. Failing to monitor coagulation status during vascular surgery; and

g. Other negligent acts or omissions*vvhich may become apparent throughout

the course of discovery
49. The above negligence of Defendants, The Johns Hopkins Health System

Corporation, The Johns Hopkins Hospital, lnc. dfb!a The Johns Hopkins l'lospital, rl."he Johns
Hopkins University, Johns Hopkins Bayview Medical Center, lnc. dfb!a Johns Hopkins Bayview
l\/ledica_l Center, and Johns Hopkins Community Physicians, lnc. andfor Johns Hopkins
Community Physicians, directly and through their actual andfor apparent agents, servants andj'or
employees including but not limited to Drs. Malas and Reifsnyder, and Dr. Malas and Dr.
Reifsnyder individually who cared for Mrs. Alrnutairi, jointly and severally without any
negligence on the part of Plaintiffs contributing thereto, directly and proximately caused M_rs.
' Almutairi to sustain serious personal injury as well as severe, painful, permanent and disabling
injuries, and will continue to suffer such injuries including, but not limited to, the following:

a. Loss of her functioning limb;

b. Past and future medical expenses;

c. Disfigurernent in the form of amputation;

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d. lnconvenience and discomfort;
e. Ernbarrassment and humiliation;

f . Mental anguish;

g. Diminished enjoyment and quality of life;

h. Loss of earnings and diminished earning capacity;

i. Past and future physical pain; and -

j. The need for future medical, nursing, hospital, pharmaceutical, physical

and occupational therapy, specialized services andjor equipment

Had the Defendants adhered to the applicable standard of care, Mrs. Ahnutairi would not have
suffered`as she has in the past and will continue to suffer in the future, both economically and
non-economically

WHEREFORE, Plaintiff Azaii Almutairi, requests that judgment be entered against the
Defendants, The Johns Hopkins Health System Corporation, The Johns Hopkins Hospita.l, lnc.
dfb/a The Johns Hopkins Hospital, The Johns Hopkins University, Johns Hopkins Bayview
Medical Center, Inc. dfbr'a Johns Hopkins Bayview Medical Center, Johns Hopkins Cornmunity
Physieians, lnc. andfor Johns Hopkins Community Physicians, Dr. Malas, and Dr. Reifsnyder,
jointly and severally, in an amount which will fairly compensate her for damages alleged herein,
and interest thereon as allowed by the law and for the costs of this action. l

Counr Two= Loss or coNsonrrUM

 

50. Plaint;if_fs, Mrs. Almutairi and Mr. Almutairi incorporate by reference and reallege
paragraphs 1 through 49 as if fully set forth herein
51. Plaintiffs Azari'Almutairi and Aiunad A. Almutairi were husband and wife at the

time of the occurrences referenced in this Complaint, and continue to be husband and wife.

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52. The negligent conduct of Defendants, directly and proximately caused permanent
injury to the marital relationship of Azari Almutairi and Ahrnad A. A]mutairi, including a loss of,
coinpanionship, affection, serviccs, assistance, and impairment of sexual relationsl

53. Mr. Ahnutairi has been caused, presently and in the future, to suffer of the loss of
his spouse's companionship, affection, services, and assistance cf Mrs. Almutairi. 'l`he marital
association between husband and wife has been impaired, depreciated and altered and,
accordingly, Mr. Almutairi has been caused great mental anguish and Enancial burden.

WHEREFORE, Plaintiff Mr. Ahnutairi, requests that judgment be entered against
Defendants, The Johns Hopkins Health System Corporation, The Johns Hopkins l-Iospital,' lnc.
dfbla The Johns Hopkins Hospital, The Johns Hopkins University, Johns Hopkins Bayview
Medical Center, lnc. d/b/a Johns Hopkins Bayview Medical Center, Johns Hopkins Community
Physicians, lnc. auditor Jolms Hopkins Connnunity Physicians, Dr. Malas, and Dr. Reit`snyder,
jointly and severally, in an amount which Will fairly compensate them for damages alleged

herein, and interest thereon as allowed by the law and for the costs of this actien.

Respectlilllyr submitted,

<YW‘ l L-
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Gilcs I- . Manley,` M.D., J.D.
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Aftorneysfor Plafntr']j§'

